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                            UNITED STATES DISTRICT COURT

                             SOUTHERN DISTRICT OF TEXAS

                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
       v.                                    §              CRIMINAL NO. C-18-250-S
                                             §
VALERIE RIVAS                                §


                   MOTION FOR RELEASE OF MATERIAL WITNESSES

       COMES NOW, the United States of America, by and through the United States Attorney

for the Southern District of Texas, and Lance Watt, Assistant United States Attorney, and moves

this Honorable Court for the release of Jose Raul Perez-Basoria and Alfonso Salazar-

Hernandez.

       The material witnesses have no other pending charges known to or anticipated by the

government.

       Further, the United States requests that the United States Marshals Service release the

witnesses forthwith, into the custody of the Bureau of Immigration and Customs Enforcement.

                                                    Respectfully submitted,

                                                    RYAN K. PATRICK
                                                    UNITED STATES ATTORNEY

                                             By:    /s/ Lance Watt
                                                    LANCE WATT
                                                    Assistant United States Attorney
                                                    Federal Bar No. 606949
                                                    State Bar No. 24037681
                                                    800 N. Shoreline Blvd., Suite 500
                                                    Corpus Christi, Texas 78401
                                                    Tel. (361) 888-3111; Fax (361) 888-3200
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Government=s Motion for Release of

Material Witnesses has been delivered to the following: Micah Wayne Hatley, Attorney for the

Defendant, and to Roberto G. Vela, Attorney for the material witnesses, on this 13th day of

September, 2018.


                                                    /s/ Lance Watt
                                                    LANCE WATT
                                                    Assistant United States Attorney




                            CERTIFICATE OF CONSULTATION

       I hereby certify that I consulted with the following: Attorney for defendant and

Attorney for the material witnesses, who are all unopposed to the motion.



                                                    /s/ Lance Watt
                                                    LANCE WATT
                                                    Assistant United States Attorney
